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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


RPAI Lincoln Plaza,
             Plaintiff(s),

       v.                                                            CIVIL ACTION
                                                                     NO. 20-40143-TSH
Dicks Sporting Goods,
             Defendant(s),


                         NOTICE OF SCHEDULING CONFERENCE

HILLMAN, J.

        An initial scheduling conference will be held by telephone in Courtroom No. 2 on the
5th floor at 11:15AM. in the United States Courthouse in Worcester, Massachusetts, on 3/2/21
in accordance with Fed. R. Civ. P. 16(b) and Local Rule 16.1. The court expects compliance
with the terms of Local Rule 16.1, except as stated below.

       1.       Agenda Not Required: Notwithstanding the provisions of Local Rule
                16.1(B)(1), counsel are not required to prepare an agenda of matters to be
                discussed at the scheduling conference unless otherwise specifically directed to do
                so by the court. Counsel are, however, required to comply with the remaining
                requirements of Local Rule 16.1, including, but not limited to, the submission of a
                joint statement under Local Rule 16.1(D).

       2.       Scheduling Order: In most cases, the court will issue a scheduling order at the
                conference in the form attached hereto. The court may depart from the form in
                cases of relative complexity or simplicity or otherwise where justice may so
                require. The parties should attempt to agree on the relevant dates for discovery
                and motion practice. In a case of ordinary complexity, the parties should propose
                a schedule that calls for the completion of fact discovery, expert discovery, and
                motion practice less than one calendar year from the date of the scheduling
                conference. The dates of the status conference and pretrial conference will be set
                by the court.

       3.       Discovery Event Limitations: Counsel representing parties in relatively
                complex matters who expect to require relief from the limitations on discovery
                events set forth in Local Rule 26.2(c) should be prepared to address that issue at
                the scheduling conference.
                                                              By the Court,

 1/22/21                                                      /s/ Martin Castles
    Date                                                      Deputy Clerk
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS




                Plaintiff,

       v.                                                             CIVIL ACTION
                                                                      NO.


                Defendant.

                                      SCHEDULING ORDER

HILLMAN, J.

       This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without undue
expense or delay.

                             Timetable for Discovery and Motion Practice

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(F), it
is hereby ORDERED that:

       1.       Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must
                be completed by
                                         .

       2.       Amendments to Pleadings. Except for good cause shown, no motions seeking
                leave to add new parties or to amend the pleadings to assert new claims or
                defenses may be filed after                         .

       3.       Fact Discovery - Interim Deadlines.

                a.     All requests for production of documents and interrogatories must be
                       served by ____________________.

                b.     All requests for admission must be served by                            .

                c.     All depositions, other than expert depositions, must be completed by
                                           .


       4.       Fact Discovery - Final Deadline. All discovery, other than expert discovery,
                must be completed by ______________________.
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5.       Status Conference. A status conference will be held on ________________.

6.       Expert Discovery.

         a.     Plaintiff(s)’ trial experts must be designated, and the information
                contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by
                ___________________.

         b.     Plaintiff(s)’ trial experts must be deposed by __________________.

         c.     Defendant(s)’ trial experts must be designated, and the information
                contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by
                ___________________.

         d.     Defendant(s)’ trial experts must be deposed by __________________.

7.       Dispositive Motions.

         a.     Dispositive motions, such as motions for summary judgment or partial
                summary judgment and motions for judgment on the pleadings, must be
                filed by                          .

         b.     Oppositions to dispositive motions must be filed within ___ days after
                service of the motion.

8.       Initial Pretrial Conference. An initial pretrial conference will be held on
                       at        a.m./p.m. The parties shall prepare and submit a pretrial
         memorandum in accordance with Local Rule 16.5(D) five business days prior to
         the date of the conference, except that the parties need not include matters
         required by Local Rule 16.5(D)(2) or (3).

                                Procedural Provisions

1.       Extension of Deadlines. Motions to extend or modify deadlines will be granted
         only for good cause shown. All motions to extend shall contain a brief statement
         of the reasons for the request; a summary of the discovery, if any, that remains to
         be taken; and a specific date when the requesting party expects to complete the
         additional discovery, join other parties, amend the pleadings, or file a motion.

2.       Motions to Compel or Prevent Discovery. Except for good cause shown,
         motions to compel discovery, motions for protective orders, motions to quash,
         motions to strike discovery responses, and similar motions must be filed no later
         than the close of fact discovery or the close of expert discovery, whichever
         deadline is relevant. If additional discovery is compelled by the court after the
         relevant deadline has passed, the court may enter such additional orders relating to
         discovery as may be appropriate.

3.       Reply Memoranda. Parties need not seek leave of court to file a reply
         memorandum in response to an opposition to any motion, provided that such a
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         reply memorandum does not exceed twelve pages, double-spaced, and is filed
         within seven days (excluding intermediate Saturdays, Sundays, and legal holidays)
         after service of the opposition memorandum. Parties may otherwise file reply or
         surreply memoranda only with leave of court. When such leave is sought, the
         moving party may file a proposed reply or surreply memorandum with the motion
         for leave.

4.       Status Conferences. The court has scheduled a status conference after (or close
         to) the close of fact discovery for case management purposes. Any party who
         reasonably believes that a status conference will assist in the management or
         resolution of the case may request one from the court upon reasonable notice to
         opposing counsel.

5.       Additional Conferences. Upon request of counsel, or at the court’s own
         initiative, additional case-management or status conferences may be scheduled.
         Parties may request telephonic conferences where appropriate to avoid undue
         inconvenience or expense.

6.       Early Resolution of Issues. The court recognizes that, in some cases, resolution
         of one or more preliminary issues may remove a significant impediment to
         settlement or otherwise expedite resolution of the case. Counsel are encouraged
         to identify any such issues and to make appropriate motions at an early stage in
         the litigation.

7.       Pretrial Conference. Lead trial counsel are required to attend any pretrial
         conference.


                                                      By the Court,


         Date                                         Deputy Clerk
